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 1
 2                                                        Chief Judge Ricardo S. Martinez
 3
 4
 5                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 6
                                    AT SEATTLE
 7
      UNITED STATES OF AMERICA,                  NO. CR18-217-RSM
 8
                                Plaintiff,
 9                                               ORDER GRANTING UNITED STATES’
                      v.                         MOTION FOR LEAVE TO FILE SURREPLY
10
                                                 IN OPPOSITION TO DEFENDANT
      ANTHONY PELAYO,
11                                               PELAYO’S MOTION TO SUPPRESS
                                Defendant.       EVIDENCE FROM I-CLOUD ACCOUNT
12
                                                 (DKT. 444)
13
14
15         The Court, having reviewed the United States’ Motion for Leave to File Surreply in
16 Opposition to Defendant Pelayo’s Motion to Suppress Evidence from I-Cloud Account (Dkt.
17 444) (the “Motion to Suppress”), enters the following Order:
18         IT IS HEREBY ORDERED that leave is GRANTED. The United States may file a
19 surreply to defendant Pelayo’s Motion to Supress (Dkt. 444).
20        DATED this 18th day of September, 2020.
21
22
23
                                             A
                                             RICARDO S. MARTINEZ
24                                           CHIEF UNITED STATES DISTRICT JUDGE

25 Presented by:
26
   s/ Karyn S. Johnson
27 KARYN S. JOHNSON
   Assistant United States Attorney
28


     ORDER GRANTING UNITED STATES’ MOTION FOR LEAVE TO FILE                UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
     SURREPLY IN OPPOSITION TO DEFENDANT PELAYO’S MOTION TO               SEATTLE, WASHINGTON 98101-1271
     SUPPRESS EVIDENCE FROM I-CLOUD ACCOUNT (DKT. 444) - 1                         (206) 553-7970
     U.S. v. Anthony Pelayo, et al.; CR18-217-RSM
